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                                    UNITED STATES DISTRICT COURT

                                        DISTRICT OF OREGON

                                          EUGENE DIVISION




ELIZABETH ANNE DEVAN-SONG,                                    Case No.: 6:20-CV-02126-MC

                       Plaintiff,                 AMENDED UNOPPOSED MOTION FOR
                                                     EXTENSION OF TIME TO APPEAR
         v.

OREGON STATE UNIVERSITY, F. KING
ALEXANDER, PENELOPE
DAUGHERTY, and CAROL MILLIE

                       Defendants.


                                      RULE 7-1 CERTIFICATION

         Pursuant to LR 7-1, counsel for defendants Oregon State University, F. King Alexander,

Penelope Daugherty, and Carol Millie (collectively, “defendants”), conferred with plaintiff’s

counsel regarding this motion and plaintiff’s counsel does not object.

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                                            MOTION

         Defendants request an extension of time to respond to plaintiff’s First Amended

Complaint from March 5, 2021 to May 21, 2021. (This request replaces Defendants’ previous

unopposed motion for an extension, Dkt. #10, and Defendants request that the Court deny that

motion as moot.)

         The extension until May 21 is necessary because the parties are exploring potential

resolution of this matter and now have a mediation scheduled for May 13. Defendants also

request that the existing discovery, dispositive motions, and pretrial deadlines be vacated and

reset after the parties have mediated.

         This motion is not made for any improper purpose or to cause undue delay. This motion

is supported by the accompanying declaration of Melissa J. Healy.



           DATED: March 16, 2021.

                                                   STOEL RIVES LLP



                                                   /s/ Melissa J. Healy
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